Case 15-71880-mgd Doc 1-1 Filed 11/12/15 Entered 11/12/15 16:25:43                      Desc
             Exhibit Corporate Ownership Statement Page 1 of 1




                            Local Bankruptcy Form 1007-4.1

                       [Caption as in Bankruptcy Official Form 16A]

                      CORPORATE OWNERSHIP STATEMENT

        In a case in which the debtor is a corporation (other than a governmental unit), or
 where any corporation is a party to an adversary proceeding (other than the debtor or a
 governmental unit), the following information is required pursuant to FED. R. BANKR. P.
 1007(a)(1) and 7007.1 and L.B.R. 1007-4 and L.B.R. 7007.1-1:

 Check applicable box:

 [✔]     There are no corporations that directly or indirectly own 10% or more of any class
 of the debtor’s equity interest.

 [ ]    The following corporations directly or indirectly own 10% or more of a class of
 the debtor’s equity interest:

        1.
        2.
        3.

 Dated: ______________________                     By: _________________________________
                                                   Signature of debtor


         11/12/2015
 Dated: _____________________                            /s/ Theodore N. Stapleton
                                                   By: _________________________________
                                                               Petitioning Creditors
                                                   Counsel to ___________________________
                                                   Attorney registration number (if applicable) Ga Bar No. 6
                                                   Business address (or home address for pro se) Ste 100-B;
                                                   Telephone number 770-436-3334
                                                   Facsimile number 404-935-5344
                                                   E-mail address      tstaple@tstaple.co
